 Case 5:20-cv-00110-BQ Document 26 Filed 02/03/22                    Page 1 of 11 PageID 184



                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    LUBBOCK DIVISION

ANOOSH RAKHSHANDEH                             §
                                               §
V.                                             §        CIVIL ACTION NO. 5:20-cv-00110-BQ
                                               §
TEXAS TECH UNIVERSITY                          §

                      PLAINTIFF’S BRIEF IN SUPPORT OF HIS
                  RESPONSE TO DEFENDANT’S MOTION TO DISMISS
                     PLAINTIFF’S FIRST AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Anoosh Rakhshandeh, Plaintiff, and makes and files this brief in support of

his response to Defendant’s motion to dismiss Plaintiff’s First Amended Complaint and, in support

thereof, would respectfully show the Court as follows:

                                                   1.

                                         INTRODUCTION

       At issue is the motion to dismiss filed by Defendant. Defendant claims by its motion that

this Court does not have jurisdiction because, according to Defendant, Plaintiff does not have

standing to assert the cause of action being brought by him and because the case is not ripe for

review. Defendant also claims that Plaintiff has failed to state a cause of action for discrimination.

Plaintiff, a former faculty member employed by Defendant, asserts in this lawsuit that Defendant,

in violation of Title VII of the Civil Rights Act, wrongfully discriminated against him on the basis

of his national origin and religion throughout the course of his employment, and in connection

with an application for tenure submitted by him. Plaintiff seeks to recover economic damages as

well as damages for mental anguish. Plaintiff, through his first amended complaint and the
                                                   1
 Case 5:20-cv-00110-BQ Document 26 Filed 02/03/22                     Page 2 of 11 PageID 185



evidentiary declaration filed in support of this response, has put forth sufficient facts demonstrating

standing and ripeness, as well sufficiently stating a cause of action for discrimination under Title

VII. Therefore, the motion to dismiss filed by Defendant should be denied.

                                                   2.

                                            DISCUSSION

A.      Introduction

        Defendant challenges Plaintiff’s complaint through a motion to dismiss under Fed. R. Civ.

P. 12(b)(1) and 12(b)(6). Under 12(b)(1), the issue is whether the Court has jurisdiction of the

case in light of Defendant’s claims concerning standing and ripeness. Under 12(b)(6), the issue is

whether Plaintiff’s complaint sufficiently states a cause of action for discrimination. These issues

will be addressed in turn.

B.      Standing and Ripeness

        Plaintiff has standing to bring this lawsuit. To establish standing, a plaintiff must

demonstrate: (1) an injury in fact; (2) that is fairly traceable to the challenged action of the

defendant; and (3) that is likely, as opposed to merely speculative, that the injury will be redressed

by a favorable decision." Lujan v. Dept. of Wildlife, 504 U.S. 555, 560- 61 (1992).

        Defendant argues that Plaintiff has failed to demonstrate standing because, according to

Defendant, Plaintiff has failed to prove: (1) that he suffered an actual injury; and (2) if Plaintiff

did suffer an injury, that injury is not fairly traceable to Defendant. (Defendant’s Motion to

Dismiss, p. 8-9). Defendant claims this is true because it did not deny Plaintiff tenure since Plaintiff

withdrew his tenure application before it reached the highest level of review. (Id.). Likewise,

Defendant argues that since Plaintiff withdrew the application for tenure, Plaintiff’s claims are not


                                                   2
 Case 5:20-cv-00110-BQ Document 26 Filed 02/03/22                      Page 3 of 11 PageID 186



ripe because no final decision was ever rendered regarding the application for tenure. (Id.). For the

reasons that follow, those arguments are not valid as to the present case.

        According to Defendant, since Plaintiff withdrew his application for tenure after it was

rejected at the first level of the tenure review process, there was no final determination regarding

his tenure application. (Id.). Defendant contends that a final decision could only occur if the

application had been forwarded to the provost and senior vice president as well as the president,

regardless of the recommendations at the lower levels of review. (Id.). Thus, Defendant concludes

that the only way Plaintiff could have standing, or that his claim would be ripe, is if Defendant had

been allowed to finish the review process at the highest level. This argument is incorrect.

        The pleadings of Plaintiff, as well as the evidence produced in connection with this

response, are sufficient to establish that Plaintiff has standing to assert his claim and that this claim

is ripe for review. Plaintiff states the following in the evidentiary declaration supporting his

response:

                My issues began in June or July 2013 after my supervisor, Dr.
                Michael Orth and/or his wife, asked me detailed questions about my
                religious beliefs. After that interaction, where I told them that I was
                not a Christian, Dr. Orth, a devout Christian, became cold and
                distant towards me and I was given the cold shoulder within the
                department. Additionally, during my employment, Dr. Orth made a
                number of statements and engaged in conduct that demonstrated to
                me that he did not like the nation of Iran or its leaders. Dr. Orth made
                it clear to me through his statements and treatment of me, that he did
                not approve of the fact that I was a non-Christian and that he did not
                approve of my native country.

                Dr. Orth’s negative treatment towards me which had continued
                throughout my employment came to a head when I applied for
                tenure. Dr. Orth actively engaged in a course of behavior to derail
                my application and to prevent me from becoming tenured. I was
                denied tenure despite the fact that I was qualified and satisfied all of
                the requirements for tenure. On this point, my qualifications for

                                                   3
 Case 5:20-cv-00110-BQ Document 26 Filed 02/03/22                   Page 4 of 11 PageID 187



              tenure exceeded or were comparable to other faculty who were not
              of Iranian/Middle Eastern nationality and/or who did not identify as
              non-Christian.
              …
              Dr. Orth was actively involved in the entire process related to the
              denial of my tenure application. A tenure application is supposed to
              go through multiple levels of review: department; college; and
              university. The department level review includes a tenure vote by
              the tenured faculty within the department. At this stage, Dr. Orth
              actively campaigned against my tenure application, promoting false
              claims about my performance and attitude, and, as a result, the
              tenured faculty (who were all white, evangelical Christian, or both)
              voted 10-0 against my application. Against University tenure
              policies, he then sent my application on to the next level (College
              level) without allowing me to review what he was sending on. This
              led to my tenure denial at the college level, without having a chance
              to comment on the denial at the department level. After the negative
              votes, Dr. Orth told me that my application had not passed the
              department level review. He told me it was a unanimous vote and
              that I should withdraw my application. He said that although I could
              technically fight the denial by seeking review at a higher level, I
              would lose since everyone was against it. He told me not to fight it
              but to, instead, go quietly. He said if I went quietly, I would not have
              a tenure denial letter in my file and that he would write a positive
              review for future employment sought by me.

              With regard to possible college and university level reviews, Dr.
              Orth told me that he had spoken to both the dean of the college and
              the university provost, and that, based on those conversations, my
              application would have no chance of succeeding at the college or
              university levels. I subsequently, confirmed with the dean and the
              provost that they had spoken to Dr. Orth and that my application for
              tenure had no chance of success at a higher-level review. Based on
              all of these things, I felt I had no reasonable choice but to withdraw
              the application for tenure from consideration. Moreover, Dr. Orth’s
              communication implied that if I did not withdraw, he would do the
              opposite, which would impede my ability to find future employment
              elsewhere. Because I was denied tenure, I was no longer able to
              continue my employment with Defendant and was I was ultimately
              removed from my faculty position.

(Plaintiff’s App. p. 3-6). The declaration shows that Plaintiff did not simply withdraw his

application for tenure on a whim. The evidence shows that Dr. Orth, the person Plaintiff contends

                                                 4
 Case 5:20-cv-00110-BQ Document 26 Filed 02/03/22                      Page 5 of 11 PageID 188



played a significant role in the discrimination against Plaintiff, was actively involved in the denial

of Plaintiff’s tenure application. Additionally, Dr. Orth strongly pressured Plaintiff to withdraw

his application and to leave “quietly.” The evidence also shows that Plaintiff was told by Dr. Orth

that the tenured faculty had voted unanimously against tenure and that the application had no

chance of success at the higher levels. The fact that Plaintiff’s tenure application had no chance

for success at the higher levels was reiterated to Plaintiff by the dean of the college (college level)

and by the university provost (university level). At this point, Plaintiff had no reasonable option

other than to withdraw the application. (See Plaintiff’s App. p. 6).

        Because Plaintiff was specifically told by appropriate representatives for each level of the

review process that the application for tenure had no chance of success if Plaintiff sought further

review, then Defendant’s conduct can fairly be said to constitute a final decision for Plaintiff’s

application as it relates to the claims asserted by Plaintiff in this case. Since the denial of tenure

caused Plaintiff to lose his faculty position, there is no question that it led to the damages (denial

of tenure, lost wages, mental anguish) alleged by Plaintiff in this case. As a result, Plaintiff has

demonstrated sufficient facts for standing and ripeness so as to support a finding by this Court that

it has jurisdiction of this case.

D.      Sufficiency under Rule 12(b)(6)

        Under the general notice rules of pleading for federal court, Fed. R. Civ. P. 8(a)(2) requires

only that pleadings contain “a short and plain statement of the claim showing that the pleader is

entitled to relief.” In order to survive a motion to dismiss, the complaint must contain sufficient

factual matter, accepted as true, to "state a claim to relief that is plausible on its face." Ashcroft v.

Iqbal, 556 U.S. 662 (2009). A claim is facially plausible when it contains sufficient factual content


                                                   5
 Case 5:20-cv-00110-BQ Document 26 Filed 02/03/22                   Page 6 of 11 PageID 189



for the court "to draw the reasonable inference that the defendant is liable for the misconduct

alleged." Id. Plausibility simply calls for enough factual allegations to raise a reasonable

expectation that discovery could reveal evidence to support the elements of the claim. See Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007). The factual allegations in the complaint

need only "be enough to raise a right to relief above the speculative level, on the assumption that

all the allegations in the complaint are true (even if doubtful in fact)." Wooten v. McDonald Transit

Associates, Inc., 788 F.3d 490, 498 (5th Cir. 2015).

Qualification for Tenure

       Defendant argues that Plaintiff’s First Amended Complaint is insufficient to demonstrate

that he was qualified for tenure as required to maintain a discrimination claim based upon denial

of tenure. (Defendant’s Motion to Dismiss p. 14). This is incorrect. Plaintiff, in the amended

complaint, goes into great detail showing the policies and requirements relating to tenure in his

department as well as his qualifications for tenure. (Plaintiff’s First Amended Complaint pp. 3-8).

In the amended complaint, Plaintiff identifies the various criteria (teaching, research, service and

administration) used to evaluate tenure applications and then in great detail describes how he was

qualified under each of the different criteria. (Id.). There is no question that these pleadings are

sufficient at this stage of the proceedings to satisfy any requirement regarding whether Plaintiff

has properly alleged that he was qualified for tenure.

       Defendant also claims that Plaintiff cannot show that he was qualified since he also

requested an extension with regard to the tenure application. (Defendant’s Motion to Dismiss p.

15). This argument is also incorrect. As noted above, Plaintiff clearly pleads that he was qualified

for tenure at the time his application was submitted. The extension request relates to an effort by


                                                 6
 Case 5:20-cv-00110-BQ Document 26 Filed 02/03/22                     Page 7 of 11 PageID 190



Plaintiff to rebut what Plaintiff contends was a pretextual basis for denying tenure being asserted

by Defendant at the time, that is, a claim by Defendant that Plaintiff did not have sufficient

publications to satisfy tenure requirements. On this point, the amended complaint states:

               Plaintiff should have been granted tenure based on the existing
               publications. However, after Defendant, without a reasonable basis,
               indicated to Plaintiff that it would use the number of publications
               against Plaintiff with regard to his application for tenure, Plaintiff
               requested an extension so that publications already in the pipeline
               could be finalized and published.

(Plaintiff’s Amended Complaint p. 6). Such pleadings are sufficient at this stage to demonstrate

that the request for an extension does not conflict with, and is not fatal to, Plaintiff’s claim that he

was qualified for tenure at the time his application was submitted.

Comparators

       Defendant also argues that Plaintiff’s Amended Complaint fails to state a cause of action

because Plaintiff failed to identify any comparator, which Defendant claims is fatal to Plaintiff’s

cause of action. (Defendant’s Motion to Dismiss, p. 15-16). Defendant claims that without

identifying a comparator, Plaintiff’s pleadings are simply conclusory and are not sufficient to

support the reasonable inference that an employment action was based on discriminatory intent.

(Id.). Contrary to Defendant’s assertions, however, the allegations made by Plaintiff in his

amended complaint with regard to comparators – that is – similarly situated individuals, are not

conclusory and are sufficient under Fed. R. Civ. P. 8 and 2(b)(6) to furnish fair and adequate notice

to Defendant that Plaintiff is claiming in this lawsuit that he was treated differently than similarly

situated employees and what the differing treatment consisted of.

       In his amended complaint, Plaintiff identifies the qualifications and requirements for

tenure. (Plaintiff’s First Amended Complaint, pp. 3-7). Plaintiff states that the primary criteria for

                                                   7
 Case 5:20-cv-00110-BQ Document 26 Filed 02/03/22                     Page 8 of 11 PageID 191



granting tenure and promotion are teaching, research, service, and administration. (Id. at 3). With

regard to these various criteria, Plaintiff identifies multiple instances where his qualifications were

comparable to or exceeded others in the college who had been granted tenure. Within the teaching

component, a subset of which is mentoring, Plaintiff’s amended complaint states:

               This number of trained graduate students exceeds the expectations
               for tenure and promotion. Faculty preceding Plaintiff (with the same
               research, teaching, and service requirements as Plaintiff) who were
               granted tenure between 2013 to 2018 had trained a lower or similar
               number      of    graduate     students.  Therefore,       Plaintiff’s
               accomplishments for the criterion of mentorship exceeded college
               and departmental expectations, compared to those who were granted
               tenure between the years of 2013 and 2018.

(Plaintiff’s Amended Complaint p. 4-5). As to research, which includes as criteria the number of

completed research trials, the number of peer-reviewed publications, and the amount of research

funds secured by the faculty member, with regard to comparators, Plaintiff’s First Amended

Complaint states:

               Plaintiff successfully conducted more than ten field animal trials and
               over ten laboratory trials. …This level of work clearly indicates that
               Plaintiff actively conducted research trials, thus meeting, and
               exceeding the expectations for his appointment with TTU. The
               faculty granted tenure between the years of 2013 and 2018,
               conducted fewer numbers of trials than Plaintiff during their six-
               year probationary period
               …
               During Plaintiff’s time with Defendant, he secured $ 984,499.00 in
               research funds directly and in collaboration with other researchers
               at TTU and other institutions. Plaintiff acquired these monies from
               industry, commodity groups, and federal agencies. Of this amount
               $355,291.00 was credited to Plaintiff by Defendant’s Office of
               Research and Innovation… Moreover, the amount of research funds
               Plaintiff secured during his six years probational period is
               comparable to those who were granted tenure between the years of
               2013 and 2018. Therefore, with regard to research funds, Plaintiff’s
               performance met or exceeded the standards that were used for
               promotion and tenure at Defendant’s Department of Animal and

                                                  8
 Case 5:20-cv-00110-BQ Document 26 Filed 02/03/22                    Page 9 of 11 PageID 192



                 Food Sciences.
                 …
(Plaintiff’s First Amended Complaint p. 7).

       Additionally, as previously discussed, Plaintiff alleges that a request for an extension was

made by him after Defendant questioned Plaintiff’s number of publications (which Plaintiff

contends was a pretext). Plaintiff alleges that he was treated differently than others who had

requested extensions. On this point, Plaintiff states in his complaint as follows:

               Plaintiff requested an extension so that publications already in the
               pipeline could be finalized and published. Plaintiff should have been
               granted a six month to one year extension to publish the additional
               manuscripts. Defendant’s internal regulations allow that faculty who
               encounter significant personal or university related issues that affect
               the faculty’s tenure application are qualified to be granted up to a
               one-year extension to meet the requirements for tenure and
               promotion. Others within Plaintiff’s department were granted
               extensions up to a year to complete their tenure requirements for
               various personal reasons including items such as loss of a family
               member, childbirth, or a spouse’s fertility issue. During the relevant
               time period, Plaintiff was in the midst of dealing with a serious
               personal issue on par with those upon which extensions were based
               for other faculty members. Nonetheless, Plaintiff’s request for a six-
               month extension to finalize remaining publications was denied, even
               though he was qualified for such extension and the extensions had
               previously been granted to other faculty members.

(Plaintiff’s First Amended Complaint p. 6). The statements by Plaintiff with regard to his

qualifications being comparable to other faculty members who have been granted tenure goes well

beyond simple conclusory assertions. The complaint is sufficient to put Defendant on notice that

Plaintiff is claiming his credentials with respect to specific criteria were comparable to those

faculty members that were granted tenure based upon the same criteria. It is also sufficient to put

Defendant on notice that Plaintiff was treated differently than other faculty members with regard

to his extension request. It certainly satisfies the pleading requirements of Fed. R. Civ. P. 8(a)(2).


                                                  9
 Case 5:20-cv-00110-BQ Document 26 Filed 02/03/22                  Page 10 of 11 PageID 193



Although Plaintiff did not identify specific names of faculty members who had been granted tenure

at this early stage of the proceedings, neither, however, has Defendant filed a motion for a more

definite statement under Fed. R. Civ. P. 12(e) requesting such specificity. Moreover, Plaintiff has

included the names of several specific individuals/comparators in the declaration which has been

filed as part of the appendix to this response and is certain additional names will be identified

during the course of discovery.

       Plaintiff’s pleadings satisfy the pleading requirements set forth by the Federal Rules of

Civil Procedure and give fair notice to Defendant of the claims being asserted by him in this case.

Those claims are ripe for review and Plaintiff has standing to assert them. Therefore, Defendant’s

motion to dismiss should be denied.

E.     Motion for Leave to Amend

       If the Court determines that Plaintiff needs to identify the names of specific faculty

members as part of the pleading requirements of Fed R. Civ. P. 8 or 12(b)(6), or the Court requires

additional specificity in the pleadings, Plaintiff requests leave to amend the complaint in order to

satisfy any such deficiency.

                                              Respectfully Submitted,

                                              JOHNSTON & MILLER
                                              Attorneys at Law
                                              1212 13th Street, Suite 101
                                              Lubbock, Texas 79401
                                              Phone: (806) 785-1499
                                              Fax: (806) 762-6901


                                              By:     /s/ J. Craig Johnston
                                                     J. Craig Johnston
                                                     State Bar No. 0078778


                                                10
Case 5:20-cv-00110-BQ Document 26 Filed 02/03/22              Page 11 of 11 PageID 194




                             CERTIFICATE OF SERVICE

      THIS WILL CERTIFY that a true and correct copy of this document has been served via
the CM/ECF notification system on this the 3rd day of February 2022.


                                          /s/ J. Craig Johnston
                                         J. Craig Johnston




                                           11
